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IN THE UNITED STATES BANKRUPTCY C()URT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE: DAVID ARTHUR NEUMANN, : CHAPTER 13
Debtor, : CASE NO. 18-10296-SDB

 

TITLEMAX OF GEORGIA, INC.,
Movant,
JUDGE SUSAN D. BARRETT

VS.

DAVID ARTHUR NEUMANN and
HUON LE, Trustee,

Respondents.
OBJECTION TO CHAPTER 13 PLAN AND MOTI()N TO DENY CONFIRMATION

COMES NOW TITLEMAX OF GEORGIA, INC. (“Movant”), a secured creditor in the
above-captioned bankruptcy proceeding, and hereby objects to continuation of this case and
moves for denial of confirmation of the plan, showing the Court as follows:

1.

On January 6, 2018, David Arthur Neumann (“Debtor”) and Movant entered into a thirty-
day pawn transaction under Georgia law in Which the Debtor exchanged a Certificate of Title to a
2000 Porche Boxster for a cash advance. Title of Certiflcate and Pawn Transaction are collectively
attached hereto as Exhibit “A”. 'l`he loan matured and came due in full on February 5, 2018, the
Speciflc Maturity Date of the Pawn Transaction. Debtor failed to pay l\/lovant by the maturity date
or by March 7, 2018, the expiration of the statutory grace period granted by O.C.G.A. § 44~14-

403(b)(3). The amount due as of the filing of the bankruptcy petition is $4,400.]4.

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2.

Debtor filed the bankruptcy petition on February 28, 2018. To the extent Debtor Was
entitled to a 60-day redemption period pursuant to ll U.S.C. § lOS(b), Debtor has failed to make
any attempt to redeem the pledged property to date. Because Debtor failed to pay pursuant to the
express terms of the contract or during any applicable statutory grace or redemption period, all
ownership interest of the Debtor in the pledged property has been or shall be extinguished

3.

A debtor’s ownership interest in an item of property pledged in a pawn transaction is
forfeited if it is not timely paid or redeemed Pledged goods may be redeemed by the pledgor only
by full payment of any unpaid fees and charges, the repayment of the principal, and the payment
of the additional interest. Pledged goods not redeemed shall be immediately forfeited to the
pawnbroker by operation of law and any ownership interest of the pledgor in the pledged item
shall be automatically extinguished O.C.G.A. § 44-14-403(b)(3); Titlemax v. Northington, No.
16~17467 (11th Cir., Dec. 11, 2017).

4.

When a debtor does not timely redeem prior to the filing of the debtor’s bankruptcy
petition, the pledged property is not property of the bankruptcy estate as defined in 11 U.S.C. §
541 and is not property within the bankruptcy court’s vested jurisdiction “A chapter 13 plan may
not provide for disposition of property which is not property of the estate as defined in 11 U.S.C.
§ 541 and the fact of plan confirmation cannot bind a property owner to a plan provision disposing
of his property rights when such property is not within the Court’s vested jurisdiction” _I_n__r_e_
_PQYYQE, 507 B.R. 394, at 399 (Bankr. N.D. Ga. 2014); Acco)'d Titlernax v. Nortliington, No. 16-

17467 (i ith Cir., Dec. ii, 2017).

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5.

To the extent Debtor failed to pay or redeem prior to the filing of the bankruptcy petition,
the proposed plan provides for the payment of a debt as to property which was not property of the
bankruptcy estate when the Debtor filed the petition. To the extent Debtor Was entitled to a 60-
day redemption period pursuant to 11 U.S.C. § 108(b), Debtor failed to make any attempt to
redeem the pledged property in full to date and thus all ownership interest of the Debtor in the
pledged property has been or shall be extinguished Thus, the proposed plan would still provide
for the payment of a debt as to property which is not property of the bankruptcy estate.

WHEREFORE, Movant moves this Court to deny confirmation of the Debtor’s Chapter 13
Plan and seeks any other relief this court deems just and appropriate

Respectfully submitted this 23rd day of May, 2018.

THE BOWEN LAW GROUP
/s/ Charles J. Bowen
CHARLES J. BOWEN
Georgia State Bar No. 071 1 15
Atto/'neyfor Movcmt

7 East Congress Street

Suite 1001

Savannah, GA 31401

(912) 544-2050

(912) 544-2070 (fax)
cbowen@thebowenlawgroup. com

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EXHIBIT A

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Written Disclosure Ticket PAWN TRANSACT!ON
ORIG|NAL ACCOUNT NUMBER: ACCOUNT NUMBER PAWN TlCKET NUMBER: DATE/TlME OF PAWN MATURlTY DATE
975399 01/06/2018 02/05/2018
PLEDGOR lNFORMATlON: CO-PLEDGOR lNFORMATlON:
FlRST NAME: MIDDLE NAME: LAST NAME: CO-PLEDGOR FlRST MlDDLE NAME: CO-PLEDGOR LAST NAME:
oAvio ` ARTiiuR NEurviAiiN NAME:
PLEDGOR SSN: PHOTO lD. NO.: CO-PLEDGOR SSN: CO-PLEDGOR'S PHOTO ID. NO.:
w
PLEDGOR STREET ADDRESS: CO-PLEDGOR ADDRESS:
111 WlLEY DR
ClTY: STATE ZlP CODE: RACE: ClTY: STATE: ZlP CODE RACE:
Grovetown GA 30813
HE|GHT WElGHT BlRTl~l DATE; SEX: HEIGHT WE|GHT BlRTH DATE: SEX:
PAWNBROKER NAME: Titiell/laxot PAWNBROKER HOURS OF DPERATION: Monday to Friday 9 A,lvl. to 7 P.M., PAWNBROKER PHONE NUMBER:
Georgia, lnc.dfc/a `l”itleBucl<s SaturdaytOA.M. to 2 P.M., Closed Sunday (705)350_3155
PAWNBROKER STREET ADDRESS: PAWNBROKER ClTY: PAWNBROKER STATE: PAWNBROKER ZIP
216 BOBBY JONES EXPRESSWAY MART|NEZ GA CODE: 30907
MOTOR VEHlCLE |NFORMAT|ON: VEHICLE lDENTlFlCAT|ON NUMBER TlTl_E STATE: LlCE PLATE VEH|CLE CERT|FlCATE Ol»' TlTl_E
(VlN): WPOCA2989Y5620554 GA NUMBER: 770206170623970
VEHICLE YEAR VEHlCLE MAKE VEl-llCLE MODEL: DOORS CYLlNDERS: COl.OR: ODOMETER
2000 Porsche Boxster 8 Cyl Silver 191543

 

 

 

 

 

 

 

 

 

ln this Written Disc|osure Ticket the words “this document," “Pawn Transaction," “Pawn Ticl<et,” “this transaction,” and “the transaction” are defined as they are in
O.C.G.A. § 44-12-130 etseq. and mean this signed agreement including the Waiver ct Jury Trial and Arbitration C|ause. The words “you," “your," “seller,“ "p|edgor,”
and “co_pledgor" mean the pledgor and/or co<pledgor identified above who have signed this Pawn Ticketi The words “we,” “us,” "our,“ and “Pawnbroker” mean TitleMax
ot Georgia, lnc. d/b/a TitleBucks a pawnbroker licensed under and operating pursuant to the Georgia Code sections relating to pawnbrokers, including O.C.G.A. §
44-12~130, et seq. and O.C.G.A. § 44-14-400, et seq. The words “Motor Vehicle,” and “Pawned ltem" mean the Motor Vehicle identided above. The words “Tit|e,”
“Certit'icate of Title,” “Pledged Goods," “lvlerchandise,“ and “P|edged |tems" mean the Motor Vehicle Certiticate of Title identified above The word “Pawn” means the
pawn covered by this Pawn Ticket.

 

This is a pawn transaction. Failure to make your payments as described in this document can result in the loss of the pawned item. The pawnbroker
can sell or keep the item if you have not made atl payments by the specified maturity date. Failure to make your payment as described in this document
can result in the loss of your motor vehicle. The pawnbroker can also charge you certain fees if he or she actually repossesses the motor vehicle.

 

 

 

You hereby grant to us a security interest in your Motor Vehicle. ln consideration of your payment of $ 4,340.12 (which is the cost to the seller or pledgor to redeem the
merchandise in this period of the transaction), delivery to us of the Motor Vehicle’s Ceititicate ot Titie, and agreement to pay all ct the tees, sums, interest charges, and
amounts pursuant to O.C.G.A. §44-12-130 et seq. and disclosed herein, we agree to lend you $ 3857.88 (“Prin€ipa| AmGunt")i Pursuant to O.C.G.A. § 44-12-
137(7), please note that we are not making any agreement requiring the personal liability of a pledgor. Therefore, it you choose to redeem or repurchase the
Pledged Goods, then you must pay us in cash the Total of Payments listed below on the Specified Maturity Date ot the Pawn Transaction, which is 02/05/2018 (hereinafter
the “Specihc Maturity Date”); however, it the Specihc lviaturity Date falls on a day in which we are not open for business, then you must pay us on the next business
day. We do not accept personal checks
FEDERAL TRUTH-lN-LEND|NG DlSCLOSURES

 

 

 

 

 

 

 

 

 

 

ANNUAL FINANCE Amount Total of Payments
PERCENTAGE RATE CHARGE Financed
The cost of your credit as a The dollar amount the The amount of credit T_he amount you Wi" have
yearly rate. credit will cost you. provided to you or on Pa'd after y°'~' have made a"
your behalf payments as scheduled
152.08 % $ 482.24 $3,857.88 $A,§AMZ~_____
Payment Schedule: One payment in the amount of $ 4.340.12 due on Monday (day ot week), February (month) 5 (day), 2018
Security: You are giving a security interest in the l\/lotor Vehicle,
Filing Fee: 0.00
Prepayment: lt you pay off early, you will not be entitled to a refund of part ot the finance charge
See the terms below and on the other pages of this Written Disc|osure Ticket for any additional information about nonpayment default and lack of prepayment
refunds

 

 

 

Any comments or questions may be directed to Customer Service at the following toll-tree number: (866)340-6394
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ADDiTiONAL TERMS AND CONDITiONS OF TH|S WRlTTEN DiSCLOSURE T|CKET

itemization of Amount Financed of 3,857.88
_r~, 1 rs 0.00 Amountgivento»you directly
$3,857.88 Amount paid on account no. 400799779 with us,
Amount`paiti to others on your beha|f: , ... r_

$ 0.00 Amount paidpub|ic ofhcia|s for title fees
$ N/A Amount to N/A
$ N/A Amount to N/A

Prepayment. You may prepay in full at any time the fees, sums, charges, interest and amounts owing under this Written Disc|osure Ticket and will not incur an additional
charge or fee However, because we earn all interest and pawnshop charges upon your execution of this Written Disc|osure Ticket, you will not be entitled to a rebate
and refund of any part of the Finance Charge. l.ikewise, you may prepay any extension of this Written Disc|osure Ticket, and will not incur an additional charge orfee.
i-lowever, because we earn ali interest and pawnshop:charges as of the date of the extension or continuation of this Written Disc|osure Ticket, you will not be entitled
to a rebate and refund of any part of the Finance Charge
Rescission: We will rebate and refund the Finance Charge we have earned and any fees to bepaid to public ofhciais, if at any time prior to the close of business on
the business day immediately following the date of this Pawn Ticket, you prepay to us in cash the Amount Financed in full satisfaction of your obligations under this
Pawn Ticket.
i_ength of the Pawn Transaction, interest and Pawnshop charges, Extension or Continuation, and Cost to Redeem. The length of the original Pawn Transaction
is thirty days and it can only be renewed with the agreement of both parties and only for 30day incremental periods The provisions of this paragraph regarding
extensions or continuations are limited to the extent we may choose to cease doing business with you. l-`urthermore, if you request additional funds or request a change
in your Specified Maturity Date, then we will ask you to sign an agreement documenting same if you do not request additional funds, the original Pawn Transaction
shall be considered to have been extended or continued unless: (a) Ali charges, tees, and the principal have actually been paid or repaid on the previous Pawn
Transaction; (b) The Ceitihcate of Tit|e, has actually been restored to your possession; and (c) The Motcr;,\/etiicle in the previous transaction has been removed from
our business premises and any lien on the Certiticate of Titie has been removed or released if the principal amount is not paid on the Specific Maturity Date or the
extended maturity date but you pay the fees, sums. interest charges, and other amounts owing to us, then the Written Disc|osure Ticket will be extended or continued for
an additional 30oay period The extended maturity date shall be thirty days after the Specinc Maturity Date or previous extended maturity date Pursuant to O.C.G.A.
§44-12-138(b) (5)»(8), please note the following rates on an annual basis and pay off amounts assume that (i) only the principal amount advanced in original Pawn
Ticket is outstanding (ii) that no payments have been made to reduce the principal amount advanced in the original Pawn Ticket, and no additional funds have been
advanced to you subsequent to signing the original 30 day Pawn Ticket; (iii) ali fees and charges on the original transaction have been kept current and that the annual
rate is computed as it ali interest and pawnshop charges were considered to be interest Given the assumptions stated above, please note as foilows. For the original
130-day term, and two renewal terms in which the Pawn Transaction might be continued or extended (a total of 90 days): (i) Pawnbroker may charge for each 30-day
period interest and pawnshop charges which together equal no more than 25 percent of the piincipal amount advanced with a minimum charge of up to $10.00 per
30day period; (ll) it will cost the seller or pledgor $ 2361 .28 to redeem the Merchandise; and (iii) the rate on an annual basis for these 30 day periods is
158.0461 %. After three 30oay terms (an initial 30-day term and two renewal terms--a total of 90 days): (1) Pawnbroker may charge for each 30day period
interest and pawnshcp charges which together equal no more than 12.5 percent of the principal amount advanced with a minimum charge of up to $5.00 per 30day
D€ind; (2) itwil| COSt the seller or pledgor $ 2270.25 to redeem the Merchandise; and (3) the rate on an annual basis each 30»day renewal term is 152.0833 %.
it you have signed an agreement subsequent to the original agreement to receive additional funds, move the Specihed Maturity Date and/or paid any amount toward
the principal, then your current payoff information no longer fits within these narrow statutory assumptions As such the federal Truth-in-i.ending disclosures in the
agreement you sign will provide you with the updated payoff amount information (cost to redeem the Merchandise) and the rate on an annual basis. Upon renewa|, all
terms of this Written Disciosure Ticket shall continue in effect, including the Waiver ot Jury Trial and Arbitration C|ause. Upon payment in full of all amounts owing, we
will return the Pledged Goods unless such have been taken into custody by a court or by a law enforcement ofhce or agency.
Default and Grace Period. lf you choose to forgo paying us on the Specific Maturity Date or the extended maturity datel then pursuant to O.C.G.A. §§44-12-131 and
44-12-138 you will be in “defauit" and a “grace period” governs our relationship The Pledged Goods may be redeemed for thirty days after the Specific Maturity Date
or the extended maturity date The grace period shall begin running on the hrst day following the Speciiied Maturity Date of the Pawn Transaction or orr the first day
following the expiration of any extension or continuation of the Pawn Transaction, whichever occurs later. The grace period shall be 30 calendar days. in the event
that the last day of the grace period fails on a day in which we are not open for business, the grace period shall be extended through the hrst day following upon which
we are open for business We will not sell the Pledged Goods during the grace period You may redeem the Motor Vehicie within the grace period by the payment of
any unpaid accrued fees and charges, the repayment of the principai, and the payment of an additional interest charge not to exceed 12.5 percent of the principal To
redeem the Pledged Goods in the grace period immediately following the Specitic Maturity Date, you must pay $ 4822.36 . You must contact the store forthe
amount to redeem the Pledged Goods during a grace period after an extended maturity date if the,Motor Vehicie is not redeemed within the grace period it shall be
automatically forfeited to us by operation of O.C.G.A. §44-14403, and any of your ownership interest in the Motor Vehicie shall automatically be extinguished After
the grace period the Pledged Goods become the property of the Pawnbroker.
Recovery and Storage. if you are in default we have the right to take possession of the Motor Vehicle. in taking possession, we or our agent may proceed without
judicial process if this can be done without breach of the peace or may proceed by action as set forth in the Waiver of Jury Trial and Arbitration Ciause. You agree to
pay a recovery fee, the amount of which will be based upon the distance we travel from our office to recover the Motor Vehicie. You agree to pay a recovery fee of
$50.00 it we recover the Motor Vehicie within 50 miles of the ofhce where the Pawn Transaction originated a recovery fee of $lO0.00 for recoveries within 51 to 100
miles, a recovery fee of $150.00 for recoveries within 101 to 300 miles and a recovery fee of $250.00 for recoveries beyond 300 miles. The recovery fee will be charged
only if an actual recovery pursuant to a default takes place on a Motor Vehicie which was not already in our possession You agree to pay a storage fee for a recovered
Motor Vehicie not lo exceed $5.00 per day, but only if we actually recover and retain possession of the Motor Vehicie
Lien information, Additionai Fees and Charges, and Redeeming the Titie. You agree to pay us a fee to register a lien upon the Motor Vehicie Titiel not to exceed
any fee actually charged by the appropriate slate to register a lien upon a Motor Vehicie Title, but only if we actually place such a lien upon the Motor Vehicie Titie. We
have a lien on the Motor Vehicie pawned for the money advanced interestl and pawnshop charge owed but riot for other debts due to us. We may retain possession
of the Pledged Goods until the lien is satisfied and may have a right of action against anyone interfering therewith Any costs to ship the Pledged items to the pledgor
can be charged to the pledgor, along with a handling fee to equal no more than 50 percent of the actual costs to ship the Pledged ltems. P|edgor agrees that whoever
properly identities himself or herself and presents this Pawn Ticket is presumed to be the pledgor and is entitled to redeem the Motor Vehiciel if this Pawn Ticket is
|ost, destroyed or stolen, the pledgor should immediately advise the Pawnbroker iri writing You agree to pay a fee of up to $2.00 for each lost or destroyed Pawn
Ticket. Pursuant to O.C.G.A. §44-14~411.1 `rf we recover the Motor Vehicie and thereby obtain possession of any personal property found in such Motor Vehicie, we
shall have a lien on such property for any reasonable expenses incurred in storing such property and in giving notice to such owner

Any comments or questions may be directed to Customer Servlce at the following toil~free number: (866)340-6394
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ADDIT|ONAL TERMS AND CONDiTiONS OF THlS WRlTTEN DiSCLOSURE TICKET

Goveming Law and Assignment. This Written Disclcsure Ticket shall be governed by the laws of the State of Georgia, except that the Waiver of Jury Trial and
Arbitration Ciause is governed by the Federai Arbitration Act (“FAA”). We may assign or transfer this Written Disclcsure Ticket or any of our rights hereunder.
Notices and Waivers. We will send notices to you at your address on page 1, and we meet our duty to give you notice when we mail it. You must send ali notices to
us to: Titlei\/lax of Georgia, inc., ATTN: l.egai Department, P.O. Box 8323, Savannah, Georgia 31412 (the “Notice Address”). We may waive or delay enforcing our
rights without losing them. We may sue or arbitrate with one or more persons without joining or suing others

information Sharing; Credit Reporting. You allow us to make inquiries about your credit history. if you believe that you have been the victim of identity theft in
connection with your Pawnl write to us at the Notice Address. in your letter: (a) provide your name and Pawn number; and (b) submit an identity theft afhdavit or identity
theft report

Teiephone Recording. You agree that we may monitor and record any phone conversation you have with us.

Automatic Reminders. We may use automated telephone dia|ing, text messaging systems and emaii to provide messages to you about the Maturity Date and other
important information The telephone messages may be played by a machine when the telephone is answered whether answered by you or someone else. These
messages may also be recorded by your answering machine You give us your permission to call or send a text message to any telephone number you give us. This
includes cell phone and |and|ine numbers You give us permission to play pre-recorded messages or send text messages with information about your Pawn over the
phone You also give us permission to send such information to you by email. You agree that we will not be liable to you for any such calls or communications You
understand that you may get a charge from your phone or lntemet company You agree that we have no iiability for such fees

Bankruptcy Notices. Any notice to us under the Federai Bankruptcy Code must be in writing, must include your Pawn number, and must be sent to the Notice Address.
Notice and Cure. Before starting a lawsuit or arbitration regarding a legal dispute or claim relating to this Pawn Ticket, the Motor Vehicie or the Pawn (the “Dispute"),
the party nling the Dispute (the “Claimant”) will give the other party (the “Defending Party") written notice of the Dispute (a “Dispute Notice") and not less than 30 days
to resolve the Dispute Any Dispute Notice to you will be sent by mail or emaii to the address you gave on your Application (or any address you have since given us).
Any Dispute Notice to us will be sent by mail to the Notice Address. Any Dispute Notice you send must include your Pawn number, mailing address and telephone
number. lt must explain the nature of the Dispute and the relief requested The Ciaimant must provide any information about the Dispute that the Defending Party
requests

WAlVER OF RiGHT T0 TRiAL BY JURY. YOU AND WE ACKNOWLEDGE THAT THE RiGHT TO TRiAL BY JURY lS A CONSTiTUTIONAL RiGHT. THiS RiGHT
MA¥ BE WAlVED UNDER CERTAiN COND|T|ONS AS ALLOWED BY LAW. YOU AND WE KNOWiNGLY AND VOLUNTARILY WAlVE ANY RiGHT TO TRiAL
BY JURY iN THE EVENT OF LlTiGATiON ARlSlNG GUT OF OR RELATED DiRECTLY OR iNDiRECTLY TO EACH OF THE FOLLOWlNG: (A) THiS PAWN
TiCKET; AND (B) THE PAWN THAT lS THE SUBJECT OF THiS PAWN TICKET. THiS JUR¥ TRiAL WAlVER WiLL NOT CHANGE AN¥ ARBlTRATlON CLAUSE
TO WHlCH ¥OU AND WE ARE SUBJECT, WHiCH CONTAlNS iTS OWN SEPARATE JURY TRiAL WAlVER.

JURY TRiAL WAlVER AND ARBlTRATlON CLAUSE. By signing below, you agree to this Jury Trial Waiver and Arbitration Ciause (“Ciause”). We have drafted this
Ciause in question and answer form so it is easier to understand This Ciause is part of this Pawn Ticket and is legally binding
Background and Scope.

 

 

 

 

 

 

 

 

 

 

guestion Short Answer Further Detail
What is . in arbitration, a third party Arbiter (“TPA”) solves Disputes in a hearing (“hearing"). it is less formal than a
arbitration? An alternative to court wm Case~
;::::f:§:t from Yes The hearing is private There is no jury. it is usually less forma|, faster, and less costly than a lawsuit. Pre
ma's,) 5 ry hearing fact finding is limited Appeais are limited Courts rarely overturn arbitration awardsl
lf you do not want this Ciause to appiy, you must tell us in writing within 60 calendar days after signing this
Can you opt-out of Yes within 60 da S Pawn Ticket. Send your signed written notice to the Notice Address. Give your name address Pawn
this Ciause? ’ y number and Pawn date State that you “cpt out" of the arbitration clause We do not allow electronic
delivery.
What is this Ciause The parties' agreement You and we agree that any party may arbitrate or demand arbitration of any "Dispute," unless you opt out or
about? to arbitrate Disputes the law does not allow it.
This Ciause covers you and us. it also covers certain "Related Parties." These inciude: (1) our parent
Who does the You, us, and certain companies subsidiaries and affiliates (2) our employees directors ofhcers, shareholders members and
Ciause cover? "Related Parties" representatives and (3) any person or company that is involved in a Dispute that you pursue at the same
time you pursue this Dispute (for example a recovery company).
This Ciause covers Disputes that would usually be decided in court and are between us (or a Reiated Party)
and you. in this Ciause, the word Disputes has the broadest meaning lt includes ali claims related to your
Most Disputes that application, this Pawn Ticket, the Motor Vehicle, the Pawn, any Other Pawn or your relationship with us lt
What Disputes would nunnally go to includes claims related to any prior applications or agreements lt includes extensions renewals
does the Ciause court (except certain refinancings, or payment plans it includes claims related to collections privacy, and customer information it
covei’? Disputes about this includes claims related to the validity of this Pawn Ticket, But, it does not include disputes about the
Ciause) validity, coverage or scope of this Ciause or any part of this C|ause. These are for a court and not the
TPA to decide Also, this Ciause does riot cover our taking and selling the Motor Vehicle. lt does not
cover any individual case you tile to stop us from taking or selling the Motor Vehicle.
Arbitrations are conducted under this Ciause and the rules of the arbitration company Arbitration rules that
conflict with this Ciause do not apply. The arbitration company will be either:
who hand;e$ the ~ The American Arbitration Association ("AAA"), 1633 Broadway, 10th Floor, New York, NY 10019,
ammauon? Usuaiiy AAA or JAMS Www'adr_mg_
~ JAMS, 620 Eighth Avenue, 34th Floor, New York, NY 10018, www.jamsadr.org
o Any other company picked by agreement of the parties

 

 

 

Any comments or questions may be directed to Customer Service at the following to|i~free number; (866)340-6394
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ADDlTiONAL TERMS AND COND|T|ONS OF THlS WRlTTEN DiSCLOSURE TlCKET

 

if all these options are unavailable a court will pick the arbitration company But, no arbitration may be
administered without our consent by an arbitration company that would permit class arbitration under
this C|ause.

The TPA will be selected under the arbitration company's rules The TPA must be a lawyer with at least ten
years of experience or a retired judge unless you and we otherwise agree

 

Can Disputes be

Either party may bn`ng a lawsuit if the other party does not demand arbitration We will not demand arbitration

 

 

no Sometimes of any lawsuit you bring as an individual in small claims court But, we may demand arbitration of any appeal
brought to con ’ of a small claims decision or any small claims action brought as a class
For Disputes subject to this Ciause, you give up your right to:
1. Have juries decide Disputes
_ _ 2. Have courts, other than small claims courts, decide Disputes
ge ¥io‘:\t‘c;':mg up Yes ' 3. Serve as a private attorney general or in a representative capacity
y g ' 4. Join a Dispute you have with a dispute by other consumers
5. Bring or be a class member in a class action or class arbitration.
We also give up the right to a jury trial and to have courts decide Disputes we wish to arbitrate
C th The TPA is ggt allowed to handle a Dispute on a class or representative basis. All Disputes subject to
an you or ix er N° this Ciause must be decided in an individual arbitration or an individual small claims action. This Ciause will
:f;;:“;nr§&r:tion? be void if a court rules that the TPA can decide a Dispute on a class basis and the court’s ruling is not

reversed on appeai.

 

What law applies?

The Federai Arbitration

This Pawn Ticket and the Pawn involve interstate commerce The FAA governs this Ciause The TPA must
apply law consistent with the FAA. The TPA must honor statutes of limitation and privilege rights. Punitive

 

 

 

 

 

 

 

 

 

 

 

 

 

attorneys' fees?

 

 

Act( FAA ) damages are governed by the constitutional standards that apply in judicial proceedings
dw;‘:!;n§:ig§sy°u No This Ciause stays in force if you: (1) cancel the Pawn; (2) default, renewl prepay or pay your Pawn in full; or
Ciausg? (3) go into bankruptcy '

Process.

guestion Shoit Answer Eg_rtiLDeg_ii

Before starting a lawsuit or arbitration, the complaining party must give the other party written notice of the
what t ou do Dispute The notice must explain the nature of the Dispute and any supporting facts if you are the
b f r msc;;rgn a Send a written Dispute complaining party, you must send the notice in writing (and not eiectronically) to our Notice Address. You, or
l e ° et or g notice and work to an attorney you have hired must sign the notice You must give your Pawn number and a phone number
ar;"§u;ti ? resolve the Dispute where you (or your attorney) can be reached if we send you a collections ietter, this will be your written
a r °" notice of a Dispute Once a Dispute notice is sent, the complaining party must give the other party a chance

to resolve the Dispute on an individual basis over the next 30 days

if the parties do not come to an agreement to resolve the Dispute within 30 days after the notice of the

Fo"owin the rules of Dispute is received the complaining party may start a lawsuit or arbitration To start arbitration, the
How does the arbitration complaining party picks the arbitration company and follows their rules lf one party begins or threatens a
arbitration start? com an lawsuit, the other party can demand arbitration This demand can be made in court papers lt can be made if

p y a party begins a lawsuit on an individual basis and then tries to pursue a class action. Once an arbitration
demand is made, no lawsuit can be brought and any current lawsuit must stop.
Will any hearing be yes The TPA may decide that an in person hearing is not needed and that a Dispute may be resolved in writing
held nearby? and by conference cai|. But, any in person hearing must be held at a place reasonably convenient to you.
Appeal rights under the FAA are limited For Claims involving more than $50,000, any party may appeal the
What about Ve limited award to a panel of three TPAs chosen by the arbitration company This panel will reconsider anything in the
appeals? ry initial award that is appealed The panei's decision will be hnal, except for any FAA appeal right. Any suitable
court may enterjudgment upon the TPA's award
Arbitration Fees and Awards.
guestion Siiort Answer Eg_rttELi_J_e_t_a_il
Who pays Usua" we do We will pay all hiing, administrative hearing and TPA’s fees if you act in good faith, cannot get a waiver of
arbitration fees? y’ ' such fees and ask us to pay
wh n wm we cover if you win an arbitration, we wilt pay your reasonable fees and costs for attorneys experts and witnesses We
e l al fees and ‘f ou win will also pay these amounts if required by law or the arbitration company's rules or if payment is required to
y°:trs;g y enforce this Ciause The TPA will not limit the award of these amounts because your Dispute is for a small
°° amount
Vlhil you ever owe . . . . .
us for arbitration or Omy for bad faith The TPA can require you to pay our fees if the TPA hnds that you have acted in bad faith (according to

standards described in Federai Rule of Civil Procedure 11(b)) and this power does not void this C|ause.

 

Any comments or questions may be directed to Customer Service at the following toll~free numben (866)340~6394
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ADDlTiONAL TERMS AND CONDlTlONS OF THlS WRlTTEN DlSCLOSURE TlCKET

 

You are entitled to an arbitration award of at least $7,500 if: (1) you give us notice of a Dispute only on your

Can a failure to own behalf and comply with the terms of this Clause; and (2) the TPA awards you money damages greater
resolve a Dispute than the last amount you requested at least ten days before the arbitration started This is in addition to the
informally mean a Yes attorneys' fees and expenses and expert witness costs to which you would be entitled This $7.500 minimum
larger recovery for award is a single award that applies to all Disputes you have raised or could have raised Multip|e awards of
you? $7,500 are not considered by this Clause. Settlement demands and offers are strictly confrdential. They may

not be used in any proceeding by either party except to justify a minimum recovery of $7,500,

 

Can an award be Yes A party may ask for an explanation from the TPA, within 14 days of the ruling. Upon such request, the TPA
explained? will explain the ruling in writing.

 

 

 

 

 

Representations and Warranties. Pledgor attests that the Motor Vehicie is not stolen, lt has no liens or encumbrances against it, and pledgor has the right to sell the
Motor Vehicle. By signing this Written Disclcsure Ticket, Pledgor attests that he or she is at least 18 years of age and is the true owner of the Motor Vehicle. The
Pawnbroker will not lease back to the Pledgor the Motor Vehicie during this Pawn Transaction or during any extension or continuation of this Pawn Transaction. The
Pledgor does hereby acknowledge that he has inspected the Motor Vehicie and that such t\/lotor Vehicie is in good repair and condition The Pledgor does hereby
assume and bear the entire risk of loss or damage to the Motor Vehicie while in his possession and does agree to indemnify and hold harmless the Pawnbroker from
any and all property damages or personal injun`es arising from the operation of the Motor Vehicle, including, but not limited to, all lawsuits, judgments attorneys fees,
court cosls, or any expenses that may be incurred The Pledgor agrees to maintain liability and casualty insurance with respect to the Motor Vehicie during the duration
of this Pawn Transaction. This Wn'tten Disc|osure Ticket may only be amended as you and we agree in writing.

By signing this Written Disc|osure Ticket you acknowledge that it was filled in before you did so and that you have received a completed copy of it. You also warrant
and represent that you are not a debtor under any proceeding in bankruptcy and have no intention to ble a petition for relief under any chapter of the United States
Bankruptcy Code. You further acknowledge that we are a Pawnbroker and that you are engaging in a Pawn Transaction with us (the terms of which are contained
herein) as allowed by O.C.G.A. §44-12-130 et seq. You further acknowledge that you have read, understand and agree to all of the terms of this Written
Disclcsure Ticket, including the above “Waiver of Jury Trial and Arbitration Clause.”

Docusigned vy: l cefi€mgia; lnc. d/b/a Tit|eBucks

T
wrer review amino/a correct
W izi=ecesezr§soomp8 empjoyee

Account Number:*

 

 

Co~Pledgor Signature

THlS DOCUMENT lS SUBJECT TO A SECUR|TY lNTEREST lN FAVOR OF, AND PLEDGED AS COLLATERAL TO, WELLS FARGO BANK, NATlONAL
ASSOCIAT|ON, AS COLLATERAL AGENT.

Any comments or questions may be directed to Customer Service at the following toll-free number. (866)340-6394
TM-GA»Customer Agr~V.2.2.03.03.2016 Page 5 of 5

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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE; DAer ARTHUR NEUMANN, ; cHAPrER 13
Debror, § CASE No. 18-10296-$1)3

 

TITLEMAX GF GEORGIA, INC.,

Movant,

JUDGE SUSAN D. BARRETT
vs.

DAVID ARTHUR NEUMANN and
HUC)N LE, Trustee,

Rcspondcnts.
CERTIFICATE OF SERVICE
This is to certify that l have this day served the following parties in this matter With a copy
of the within and foregoing Objection to Plan and Motion to Deny Confirmation by depositing

a true and correct copy in the U.S. Mail With sufficient postage affixed thereto and properly
addressed as follows:

David Arthur Neumann Huon Lc, Trustec
lll Wiley Drive P.O. Box 2127
Grovetown, GA 30813 Augusta, GA 30903

Angcla Williams Scyrnour, Esq.
Seyrnour & Associates PC
lOl-B Rossmore Place
Augusta, GA 30909

This 23rd day of April, 2018

THE BOWEN LAW GROUP

/s/ Charles J. Bowcn

7 East Congress Street CHARLES J. BOWEN
Suite lOOl Georgia State Bar No. 071115
Savannah, GA 3140l Attorneyfor Movarrr‘

(912) 544-2050
(912) 544-2070 (fax)
cbowen@thebowenlawgroup. com

